Case 2:04-Cv-03024-.]PI\/|-tmp Document 3 Filed 07/15/05 Page 1 of 3 Page|D 6`

 

IN THE UNITED sTATEs DISTRICT coURT HLED ay
FOR THE wEsTERN DISTRICT oF TENNESSEE -~ n
wEsTERN DIvIsIoN 05
JUL 15 PH
labs
am M.
EDWARD TUCKER, MD §me

Plaintiff,
vs. No. 04-3024-Ml/P
J.B. MITCHELL, et al.,

Defendants.

>-<>-<>-<>-<>'<>-<>-<>-<>-<>-<>-<

 

ORDER CORRECTING THE DOCKET
ORDER DIRECTING CLERK 'l‘O MAIL MAY 6, 2005, ORDER TO PLAIN'I‘IFF
AND
OR_DER EXTENDING DEADLINE FOR COMPLIANCE

 

Plaintiff Edward Tucker, Tennessee Department of Correction
(“TDOC”) prisoner number 140105, who was, at the time he commenced this
action, an inmate at the Tipton County Correctional Facility (“TCCF”)
in Covington, Tennessee, filed alggg§g complaint pursuant to 42 U.S.C.
§ 1983 on December 14, 2004. The Court issued an order on May 6, 2005,
directing the Plaintiff, Within thirty days, to comply With the Prison
Litigation Reform Act of 1995, 28 U.S.C. §§ 1915(a)-(b), or pay the
$lBO civil filing fee. The Plaintiff's copy of that order was returned
by the post office on May 25, 2005, With a notation that he was no
longer at the TCCF. Although the Plaintiff has not notified the Clerk
of his change of address, the TDOC website indicates that Plaintiff is
currently incarcerated at the Brushy Mountain Correctional Facility
(“BMCX”) in Petros, Tennessee. Accordingly, the Clerk is ORDERED to

correct the docket to reflect the Plaintiff’s current address. The

Thts document entered on the docket qsheet ln compliance n d
with Ftule 58 andlor 79(a) FRCP on

Case 2:04-Cv-O3024-.]PI\/|-tmp Document 3 Filed 07/15/05 Page 2 of 3 Page|D 7

Plaintiff’s address shall include his TDOC number, rather than the
number assigned to him by the TCCF. The Clerk is further ORDERED,
forthwith, to mail the May 6, 2005, order and a copy of the prisoner
in fp;mg pauperis affidavit to the Plaintiff at his current address.
The Plaintiff’s time for compliance with that order is extended to

thirty (30) days after the date of entry of this order.

IT IS SO ORDERED this fcs day of Ju%§, 2005.

LQ¢~O.WYO.LL

JON PHIPPS MCCALLA
ED STATES DISTRICT JUDGE

 

UN1TED `STATES D1STR1CT C URT - WESTRNE 1CSR1T oF TNNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:04-CV-03024 Was distributed by faX, mail, or direct printing on
July ]8, 2005 to the parties listed.

 

 

Edward Tucker
BMCX

140105

P.O. BOX 1000
Petros, TN 37845

Honorable J on McCalla
US DISTRICT COURT

